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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Crim. No. 1:21-cr-00034-CRC
                                             :
THOMAS ROBERTSON                             :
                                             :
                                             :
                      Defendant.             :

           UNITED STATES’ SUPPLEMENTAL BRIEF IN SUPPORT OF ITS
                    MOTION TO REVOKE RELEASE ORDER

       The United States submits this supplemental brief to bring to the Court’s attention

additional information that may be relevant to the pending motion to revoke the Defendant’s

conditions of release. Law enforcement continues to review the items seized from the home of

Defendant Thomas Robertson on June 29, 2021. This review uncovered the blue, silver and brown

items identified by evidence tag 35, depicted below. They are visually consistent with M228 fuzes

that have not been fired, and are pending further investigation to confirm whether they are inert.

M228 fuzes are federally regulated explosives.
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                           Respectfully submitted,

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